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 5
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 7

 8                          IN THE UNITED STATES DISTRICT COURT
 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                           Case No.: 2:16-cr-00189 KJM
12
                                Plaintiff,               STIPULATION AND ORDER FOR
13
                                                         TEMPORARY REMOVAL OF HOME
14   vs.                                                 ELECTRONIC ANKLE MONITOR TO
                                                         ALLOW TRAVEL AT DISCRETION OF
15   LEONARD YANG,                                       THE OFFICE OF PRETRIAL SERVICES
16                              Defendant.
17

18
                                             STIPULATION
19

20          LEONARD YANG, defendant herein, is presently released on bail in connection with the
21
     above-numbered case, and residing in Columbus, Ohio. He is being monitored by Pretrial
22
     Services Office for the Southern District of Ohio utilizing a home electronic ankle monitor (as
23
     authorized by Document 15, Special Conditions of Release, Clerk’s Record in the above-
24

25   numbered case which specifically authorizes that Mr. Yang be restricted to the Eastern District

26   of California and the Southern District of Ohio).
27
     ////
28                                                   1
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 1          In order for the defendant to travel from Columbus, Ohio to Sacramento, California for
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     his Court appearances and meetings with his counsel associated with the representation in the
 3
     above-entitled case, it has been previously necessary that a separate motion and order be filed for
 4
     each and every such travel request, for the removal of the ankle monitor presently in place so that
 5

 6   he can board a plane for the trip.

 7          As set for herein below, all parties are in agreement that travel requests may be made by
 8
     the parties hereto directly to the Pretrial Services Agency (in Sacramento, California, and/or
 9
     Columbus, Ohio) without the necessity of a separate motion and order to be filed with the Court
10
     for each such request. If and when Pretrial Services is satisfied as to the validity of such request,
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12   the travel accommodations will be made, and adhered to, just as has been the practice pursuant to

13   individual Court Orders but without the necessity of additional court involvement.
14
            As has been the practice, the Pretrial Services Agency in Ohio will remove the ankle
15
     monitor shortly before Mr. Yang’s departure from Columbus, Ohio, and will immediately
16
     replace the monitor upon his return to that district. Mr. Yang further agrees that he will comply
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18   with all pretrial orders, and requirements of Pretrial Services, and will make all required Court

19   appearances as ordered.
20
            IT IS HEREBY STIPULATED by and between the parties hereto, through their
21
     respective undersigned counsel, that the Court may issue an Order that the ankle monitor
22
     presently on the person of Mr. Leonard Yang, in the Southern District of Ohio, may be removed
23

24   by the Pretrial Services Agency in that district allowing him to travel to Sacramento, California

25   and conduct his court appearances, and other legal matters, and that immediately upon his return,
26
     he will report to the Pretrial Services Office for the Southern District of Ohio, and a new monitor
27
     will be placed as soon as the Pretrial Services Office in The Southern District of Ohio is able to
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 1   do so. The granting of such travel requests shall be at the sound discretion of Pretrial Services
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     Offices of said Districts.
 3
            Dated: January 23, 2018
 4
                                                          /S/ Robert M. Holley
 5
                                                          _______________________________
 6                                                        Mr. Robert M. Holley, Esq.
                                                          Counsel for Mr. Yang
 7

 8
                                                          /S/ Mr. Roger Yang, Esq. (by RMH)
 9                                                        _______________________________
                                                          Mr. Roger Yang, Esq.
10                                                        Assistant United States Attorney
                                                          Counsel for the United States
11

12

13                                                ORDER
14

15          GOOD CAUSE APPEARING, IT IS SO ORDERED.

16   Dated: January 23, 2018
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18                                                 _____________________________________
                                                   THE HON. EDMUND F. BRENNAN
19                                                 Chief United States Magistrate Judge
                                                   Eastern District of California
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